      CASE 0:22-cv-00170-PJS-LIB        Doc. 272     Filed 01/03/25   Page 1 of 10




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 FOND DU LAC BAND OF LAKE                           Case No. 22‐CV‐0170 (PJS/LIB)
 SUPERIOR CHIPPEWA,

                      Plaintiff,

 v.

 CONSTANCE CUMMINS, Supervisor of
 the Superior National Forest; RANDY
 MOORE, Chief of the U.S. Forest Service;                      ORDER
 UNITED STATES FOREST SERVICE;
 THOMAS VILSACK, Secretary of
 Agriculture; UNITED STATES
 DEPARTMENT OF AGRICULTURE;
 POLY MET MINING, INC.; and
 NORTHSHORE MINING CO.,

                      Defendants.



      Vanessa L. Ray‐Hodge, SONOSKY, CHAMBERS, SACHSE, MIELKE &
      BROWNELL, LLP; Matthew L. Murdock, SONOSKY, CHAMBERS, SACHSE,
      ENDRESON & PERRY, LLP; Sean W. Copeland, Tribal Attorney, FOND DU
      LAC BAND OF LAKE SUPERIOR CHIPPEWA, for plaintiff.

      Monte A. Mills, Aaron P. Knoll, Farah Famouri, GREENE ESPEL PLLP; Jay C.
      Johnson, VENABLE LLP, for defendant Poly Met Mining, Inc.

      Plaintiff Fond du Lac Band of Lake Superior Chippewa (“the Band”) filed this

action against the United States Forest Service (“Forest Service”) and other federal

agencies and agency officials. The Band brought suit under the Administrative

Procedure Act (“APA”), 5 U.S.C. § 701 et seq., seeking judicial review of a land
      CASE 0:22-cv-00170-PJS-LIB         Doc. 272     Filed 01/03/25     Page 2 of 10




exchange between the Forest Service and intervenor‐defendant Poly Met Mining, Inc.

(“PolyMet”).

       This matter is before the Court on PolyMet’s objection to the April 29, 2024, order

of Magistrate Judge Leo I. Brisbois on the Band’s motion for discovery sanctions. Judge

Brisbois denied the motion for sanctions but found that PolyMet’s second amended

privilege log was deficient in several respects and that PolyMet had, as a result, failed to

meet its burden of establishing that the relevant documents are privileged. Judge

Brisbois therefore ordered PolyMet to produce them.

       A magistrate judge’s ruling on nondispositive pretrial matters may be reversed

only if it is “clearly erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ.

P. 72(a). Having reviewed Judge Brisbois’s order, the parties’ briefing, and the relevant

portions of the record, the Court cannot find that the order is clearly erroneous or

contrary to law. The order is therefore affirmed.

       The discovery at issue concerns documents relating to PolyMet’s transfer to

defendant Northshore Mining Company (“Northshore”) of a portion of the land that

PolyMet acquired from the Forest Service. This transfer, in turn, is relevant to

PolyMet’s laches defense. In response to the Band’s discovery requests for all

documents relating to the Northshore conveyance, PolyMet took the position that the

only relevant documents were the final transaction documents effectuating the sale.



                                             -2-
      CASE 0:22-cv-00170-PJS-LIB          Doc. 272     Filed 01/03/25    Page 3 of 10




The Band moved to compel, and Judge Brisbois disagreed with PolyMet, finding,

among other things, that because laches is an equitable defense, all evidence relating to

the transaction was potentially relevant. Judge Brisbois accordingly granted the Band’s

motion to compel discovery and ordered PolyMet to produce a privilege log for any

documents that it withheld on the basis of privilege. At the same time, Judge Brisbois

denied the Band’s motion insofar as it sought discovery against non‐party PolyMet

Mining Corp. (“PolyMet Corp.”), which is PolyMet’s former corporate parent. In so

ruling, Judge Brisbois relied on PolyMet’s representations that PolyMet Corp. was a

separate entity from PolyMet and that PolyMet Corp. was a stranger to the Northshore

conveyance. The Court overruled PolyMet’s objection to Judge Brisbois’s order.

       PolyMet then produced some documents and a lengthy privilege log. The Band

objected to the log for various reasons, including that it lacked sufficient detail.

Following “unfruitful meet and confer discussions spanning multiple weeks,” ECF

No. 193 at 8,1 the Band filed a motion for sanctions. After oral argument on the motion,

Judge Brisbois held the Band’s motion in abeyance and ordered PolyMet to review its

privilege log and provide additional information to the Band, following which the

parties were to meet and confer and then inform the Court of the status of their dispute.

See ECF No. 193 at 8; ECF No. 185 at 31–33.


       1
       When citing documents by ECF number, the Court cites to the electronically
generated page numbers at the top of the page.

                                             -3-
      CASE 0:22-cv-00170-PJS-LIB          Doc. 272     Filed 01/03/25     Page 4 of 10




       During this last round of meet‐and‐confer sessions, PolyMet produced an

amended and then later a second amended privilege log, which is the version currently

at issue. The parties were not able to resolve their dispute through the meet‐and‐confer

process, and, accordingly, they filed a joint letter setting forth their respective positions.

ECF No. 187. Following receipt of the letter, Judge Brisbois issued his order denying

the motion for sanctions but compelling the production of approximately

500 documents listed on the second amended privilege log. It is that order to which

PolyMet now objects.

       Judge Brisbois held that, by including PolyMet Corp. on the communications at

issue, PolyMet waived any claim of privilege. He further held that, to the extent that

any entry on PolyMet’s second amended privilege log failed to clarify whether joint

employees of the two corporations were acting on behalf of PolyMet or instead on

behalf of PolyMet Corp., PolyMet failed to meet its burden to establish that the

communication at issue is privileged.

       There is nothing clearly erroneous or contrary to law about either of these

holdings. It is hornbook law that “[v]oluntary disclosure of attorney client

communications expressly waives the privilege.” United States v. Workman, 138 F.3d

1261, 1263 (8th Cir. 1998). Likewise, it is well established that PolyMet, as the party

claiming privilege, had the burden of proof on the issue. See United States v. Ivers, 967



                                             -4-
      CASE 0:22-cv-00170-PJS-LIB          Doc. 272     Filed 01/03/25     Page 5 of 10




F.3d 709, 715 (8th Cir. 2020). And, given the length of time and number of opportunities

that PolyMet had to produce an adequate privilege log, Judge Brisbois acted within his

discretion in holding against PolyMet any ambiguity concerning the capacity in which

each listed employee was acting.

       PolyMet does not take issue with any of this. Instead, PolyMet contends that

Judge Brisbois erred by failing to recognize that communications including PolyMet

Corp. remain privileged because the two companies were jointly represented by the

attorneys on PolyMet’s privilege log. See In re Teleglobe Commc’ns Corp., 493 F.3d 345,

359 (3d Cir. 2007) (“[T]he co‐client (or joint‐client) privilege . . . applies when multiple

clients hire the same counsel to represent them on a matter of common interest.”). But

PolyMet never made this argument to Judge Brisbois, and therefore cannot make it

now. See Ridenour v. Boehringer Ingelheim Pharms., Inc., 679 F.3d 1062, 1067 (8th Cir.

2012) (“Ridenour was required to present all of his arguments to the magistrate judge,

lest they be waived.”); Hammann v. 1–800 Ideas.com, Inc., 455 F. Supp. 2d 942, 947‐48 (D.

Minn. 2006) (citing Madol v. Dan Nelson Auto. Grp., 372 F.3d 997, 1000 (8th Cir. 2004)

(“A party cannot, in his objections to an R&R, raise arguments that were not clearly

presented to the magistrate judge.”).

       PolyMet defends its failure to make this argument by contending that it had no

reason to make it, as at the time the Band was seeking sanctions based on alleged



                                              -5-
      CASE 0:22-cv-00170-PJS-LIB          Doc. 272    Filed 01/03/25     Page 6 of 10




deficiencies in the privilege log, not arguing that PolyMet had altogether waived the

privilege by disclosing communications to PolyMet Corp. But at the March 12, 2024,

hearing on the Band’s motion for sanctions, both the Band and Judge Brisbois expressly

raised the issue of PolyMet Corp. being noted on the privilege log, with Judge Brisbois

pointedly asking:

              [I]t’s Rule 101—Class 101 evidence in law school that if you
              bring a third party into those communications, you lose that
              privilege.

                      So how can I not, on that basis alone and the record that
              already exists in front of this Court, find that the privilege
              log is in some fashion deficient when you include
              communications to PolyMet Corporation on that log?

ECF No. 185 at 16 (emphasis added). As noted, following the hearing, Judge Brisbois

held the Band’s motion in abeyance while the parties met and conferred and ultimately

filed a joint letter setting forth their respective positions. In short, PolyMet had an

opportunity to argue for the application of the joint‐representation rule—both when it

met with the Band in the meet‐and‐confer process and then when it presented its

position in the joint letter to Judge Brisbois. Moreover, PolyMet had every reason to do

so in light of Judge Brisbois’s pointed question about the presence of PolyMet Corp. on

the privilege log.

       Relatedly, PolyMet also seems to imply that, by informing Judge Brisbois (and

offering evidence) that PolyMet and PolyMet Corp. were joint clients, it did, in fact,


                                             -6-
      CASE 0:22-cv-00170-PJS-LIB         Doc. 272     Filed 01/03/25    Page 7 of 10




raise the argument. See ECF No. 200 at 9 (asserting that Judge Brisbois “should have

recognized” that the joint‐representation rule applied). But PolyMet’s argument elides

the fact that, while litigating the Band’s initial motion to compel in October 2023,

PolyMet represented to Judge Brisbois that PolyMet Corp. was not involved in the

Northshore conveyance and that its counsel did not represent PolyMet Corp.

       In its objection, PolyMet contends that, “when counsel told Judge Brisbois at the

hearing ‘that they did not represent PolyMet Mining Corp.,’ they were explicitly talking

about the situation after” February 2023—that is, after PolyMet converted into an LLC.

ECF No. 200 at 10. But PolyMet ignores that there were two hearings in front of Judge

Brisbois—one on October 30, 2023 (on the Band’s motion to compel) and the other on

March 12, 2024 (on the Band’s motion for sanctions). PolyMet is referring to the March

hearing, while ignoring that, at the October hearing, PolyMet’s attorney took pains to

portray PolyMet Corp. as having nothing to do with the Northshore conveyance:

                    To be clear, I don’t represent PolyMet Mining Corp.
              PolyMet Mining Corp is not the party here. PolyMet
              Mining, Inc. is the party. PolyMet Mining Corp didn’t
              exchange land with the Forest Service. PolyMet Mining, Inc.
              did. And PolyMet Mining Corp did not convey land to
              Northshore. That was PolyMet Mining, Inc.

ECF No. 117 at 50. Only a few months later, PolyMet reversed itself, asserted that, in

fact, PolyMet Corp. was involved in the Northshore conveyance, and asserted that, in

fact, the two companies did share counsel with respect to that transaction. Given this


                                            -7-
      CASE 0:22-cv-00170-PJS-LIB         Doc. 272     Filed 01/03/25    Page 8 of 10




context, the Court rejects PolyMet’s implication that it preserved its argument that the

joint‐representation rule applies.

       Moreover, the joint‐representation rule requires not merely that the clients be

jointly represented, but that the clients share a common interest. In re Teleglobe, 493 F.3d

at 362‐63. PolyMet’s prior representations to Judge Brisbois indicated that it did not

share a common interest with PolyMet Corp. with respect to the Northshore

conveyance.2 PolyMet’s later reversal—and the resulting confusion—is exactly why it

was incumbent on PolyMet to clearly present its joint‐representation argument so that

the issue could have been adequately briefed and argued by the parties and considered

by Judge Brisbois.

       Even setting all of this aside, the Court disagrees with PolyMet’s (apparent)

position that it could invoke the joint‐representation rule by informing Judge Brisbois of

nothing more than the fact PolyMet and PolyMet Corp. were joint clients. Determining

whether and to what extent the joint‐representation rule applies is often a difficult and

fact‐intensive inquiry:



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        PolyMet might contend that its representations were factually correct and that
the fact that PolyMet Corp. did not itself convey the land does not mean that the two
companies lacked a common interest. Such an argument would ignore that PolyMet’s
representations were made in the context of resisting the Band’s attempt to obtain
discovery from PolyMet Corp. regarding the land conveyance. Given this context,
PolyMet’s statements strongly implied that PolyMet Corp. had nothing to do with the
conveyance.

                                            -8-
      CASE 0:22-cv-00170-PJS-LIB         Doc. 272     Filed 01/03/25    Page 9 of 10




              In determining whether parties are “joint clients,” courts
              may consider multiple factors, including but not limited to
              matters such as payment arrangements, allocation of
              decisionmaking roles, requests for advice, attendance at
              meetings, frequency and content of correspondence, and the
              like. See McMorgan, 931 F. Supp. at 702; In re Colocotronis
              Tanker Secs. Litig., 449 F. Supp. 828, 830–32 (S.D.N.Y. 1978);
              Connelly v. Dun & Bradstreet, Inc., 96 F.R.D. 339, 342 (D. Mass.
              1982). In addition, the joint client exception presupposes
              that communications have been “made in the course of the
              attorney’s joint representation of a ‘common interest’ of the
              two parties.” Eureka, 743 F.2d at 937. The term “common
              interest” typically entails an identical (or nearly identical)
              legal interest as opposed to a merely similar interest. See,
              e.g., McMorgan, 931 F. Supp. at 701; NL Indus. v. Commercial
              Union Ins. Co., 144 F.R.D. 225, 230–31 (D.N.J. 1992). Thus, the
              proponent of the exception must establish cooperation in
              fact toward the achievement of a common objective. See
              Shamis v. Ambassador Factors Corp., 34 F. Supp. 2d 879, 893
              (S.D.N.Y. 1999).

FDIC v. Ogden Corp., 202 F.3d 454, 461–62 (1st Cir. 2000).

       PolyMet seems to imply that, when the joint clients are a parent company and its

wholly owned subsidiary, none of this analysis is necessary because the companies

automatically share each other’s legal interests. Although there is some authority to this

effect, see In re Teleglobe Commc’ns Corp., 493 F.3d at 366 (“Delaware courts have

recognized that parents and their wholly owned subsidiaries have the same interests

because all of the duties owed to the subsidiaries flow back up to the parent” (citation

omitted)), this does not appear to be a universal rule, see In re Grand Jury Subpoena

#£06‐1, 274 F. App’x 306, 311 (4th Cir. 2008) (per curiam) (“Subsidiary has failed to


                                            -9-
     CASE 0:22-cv-00170-PJS-LIB         Doc. 272     Filed 01/03/25    Page 10 of 10




demonstrate that the communications reflected any legal matter of common interest.”

(citation and quotation marks omitted)). Given these conflicting authorities, it is at least

arguable whether, as a matter of law, a parent and its wholly owned subsidiary always

and automatically share all legal interests in common. In any event, PolyMet could not

have expected Judge Brisbois to decide this issue—or any other issue related to

application of the joint‐representation rule—without briefing and argument on the

matter.

       For these reasons, PolyMet’s objection is overruled, and Judge Brisbois’s order is

affirmed.

                                          ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT the objection of defendant Poly Met Mining, Inc. [ECF

No. 200] is OVERRULED and the order [ECF No. 193] is AFFIRMED.


 Dated: January 3, 2025                        s/Patrick J. Schiltz
                                               Patrick J. Schiltz, Chief Judge
                                               United States District Court




                                            -10-
